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                  MOTION TO DISMISS


                             Exhibit 3:


                      Grievance Records
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                                    Grievance Decision from Reviewing Authority

 Inmate/Offender                                                                       DOC
 Name:                   Roppolo, Paul EB-11 1                                         Number    600968
                                                                                                ~~~~~~~--~===
 Receipt Date:       02/21/2018    Grievance Category Code:      6         Grievance Number:     201 8-1001-00031-G

1. Discrimination   3. Complaint against staff    S.Disciplinary process      ?.Medical     9. Records/Sentence Admin .
                                                                              8. Propertyrrrust
2. Classification   4. Condition of confinement   6.Legal                     Fund 1O.Religion 11 .Personalldentity
  Decision :

 Inmate Roppolo asked that the Law Library allow him to purchase only the most favorable U.S. Supreme
 Court decisions that are relevant to the court cases he listed.

 After an investigation of the matter Willa Burney, Law Library Supervisor advised that 1/M Roppolo is able to
 do his own research into what cases would be most favorable to the cases he listed. It is not the Law Library's
 or the Law Library clerks' responsibility to do the research for him. After 1/M Roppolo determines what cases
 are most favorable, the Law Library will print them and allow him to purchase the documents.

 Inmate Roppolo's RELIEF IS DENIED.



 Reviewing Authority- Facility Health Services Admin (medical issues)            Date

X                      -- r-A                                                    Date

 I have received the copy of the respo se of the reviewing authority.


                                                                                 Date                    j Q--
                                                                                        3 -<i?-           0
                                                                                 Date

 You may appeal to the Administrative Review Authority or Personal Identity ARA at Department of Corrections, P.C
 Box 11400, Oklahoma City, OK 73136-0400 or Medical ARA at 2901 N. Classen Blvd, Suite 200, Oklahoma City, 01
 73106, within 15 days of the receipt of response using only DOC Form 060125V entitled "Misconduct/Grievance Appec
 to Administrative Review Authority." Do not send this decision to the Administrative Review Authority or Medical ARA


 1. Original to file
 2. Copy to inmate/offender                                                                DOC 090124B (R 07/16)
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  JoE M. ALLBAUGH
  DIRECTOR




  June 8, 20 18
                                                                     •
                                                                 STATE OF OKLAHOMA
                                                    OKLAHOMA DEPARTMENT OF CORRECTIONS
                                                                  MEDICAL SERVICES
                                                                                                                                          MARY FALLIN
                                                                                                                                            GOVERNOR




  Paul Roppolo - DOC #600698
  Davis Correctional Facility
  6888 East 133rd Road
  Holdenville, OK 74848-9033

  Re: Improperly Submitted Grievance Appeal (#DCF-2018-1001-00098-G)

  Dear Mr. Roppolo:

  Your "Misconduct/Grievance Appeal to Administrative Review Authority" (appeal) f01m, dated May 14,2018,
  was received in the medical administrative review authority's (MARA) office on May 24, 2018. In accordance
  with OP-090 124, I am returning (a copy of) your original correspondence unanswered for the following
  reason(s):

       I. You are out of time to submit this complaint. According to OP-090 124, the documents must be received
          in the appropriate office within the requisite time frame. Policy mandates that your "Request to Staff'
          (RTS) form be received within seven (7) calendar days of the underlying incident. The event of which
          you complain occurred on AprilS, 20 18. Your RTS was not stamped into the law library until April23 ,
          2018. Consequently, you are out oftime to submit grievance #2018-1001-00098-G.

  The appropriate method for addressing any health concern is via the facility's sick call process. Please document
  such concerns on a "Request for Health Services" form and submit it to the medical unit at your facility. If
  necessary, an appointment can then be scheduled for you to be examined by a qualified health care professional.

  PLEASE NOTE: You are being issued a restriction warning for misuse of the grievance process. A grievance
  restriction may be imposed, as described in §IX, for any subsequent misuse and/or abuse of the grievance
  process. It is your responsibility to submit your grievance correspondence properly in accordance with OP-
  090 124. Please read this policy carefully before you submit any other correspondence. Contact your case
  manager if you have questions or need further assistance regarding the grievance process.




~RBuddy Honaker
  Medical Services Manager

  BH/rm

  CC         Raymond Larimer
             Teny Underwood
             James Yates
             Greg Williams (Brenda Bryant)
             Julie Rose
             Jamie Keef
             JC Colbert
             Mark Knutson
             Janna Morgan (Liz Janway)
             Debbie Burchfield
             Clint Castlebeny (Tamara Lilly)
             File

       2901 N. CLASSEN BLVO., SUITE 200; OKlAHOMA CITY, O KlAHOMA 73106   PHONE:   (405) 962-6155   FAX (405)-962· 6147   W EB:   http://doc.ok.gov
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                                    Grievance Decision from Reviewing Authority

 Inmate/Offender                                                                DOC
 Name:                 ~R~o~p~p~o~lo~·~
                                      Pa~u~I~E~B~-~
                                                  11~27-~--~~---=--~~----~ Number ~6~0~0796~8~~~~----~
 Receipt Date:       05/01 /2018        Grievance Category Code: 7  Grievance Number: 2018-1001 -00098-G
                                                                 --

1. Discrimination   3. Complaint against staff    5.Disciplinary process   ?.Med ical    9. Records/Sentence Admin .
                                                                           8. Propertyffrust
2. Classification   4. Condition of confinement   6.Legal                  Fund 10.Religion 11.Personal Identity
  Decision :

 Inmate Roppolo requested that he be treated by the Mental Health Staff more than be given handouts or
 quick chats at his door.

 After an investigation of the matter by Ray Larimer, Health Services Administrator, 1/M Roppolo was seen
 by Mental Health on 4/12/2018, 4/23/2018 and 4/24/2018. 1/M Roppolo is being followed per DOC Guidelines.




                                                                             ,Y
                                                                              Date
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                                                                              'oate




 You may appeal to the Administrative Review Authority or Personal Identity ARA at Department of Corrections, P.C
 Box 11400, Oklahoma City, OK 73136-0400 or Medical ARA at 2901 N. Classen Blvd , Suite 200, Oklahoma City, Of
 73106, within 15 days of the receipt of response using only DOC Form 060125V entitled "MisconducUGrievance Appec:
 to Ad ministrative Review Authority." Do not send this decision to the Administrative Review Authority or Medical ARA


 1. Original to file
 2. Copy to inmate/offender                                                             DOC 090124B (R 07/16)
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     GRIEVANCE RETURNED UNANSWERED
'·                                                               Received:




     DATE:     May 29, 2019                                            ~
     TO:       Roppolo, Paul, #60096v                       11
     FROM:     James Yates, Warden A-t-
                                     ~....!.-----.,......-~IJU.---
                                                           r....:..__ ___,..,~~-------:-----------
     Received: April 26, 2019                       V
     RE:       Return of Grievance# 2019-1001-00192-G                     ,
     YOUR GRIEVANCE IS BEING RETURNED UNANSWERED BECAUSE OF THE FOLLOIWNG:

     D      You have not filed your grievance within the specified time frame. (CANNOT RESUBMIT)

            D The "Request to Staff' must be submitted within seven (7) days of the incident.
            0The inmate/offender grievance must be submitted by the inmate/offender 15 days from the
              date of the receipt of the response to the "Request to Staff."

     D      An ANSWERED Request to Staff form addressed to the correct staff member must be attached.

     D      The Request to Staff issue is not consistent with the issue requested on the Grievance.

     0      Inmate Request forms are not utilized in the Grievance Process.

     [:8)   You have not completed the Grievance form correctly, in its entirety, or on the correct form.

     D      Grievances submitted must be legibly written or typed, in blue or black ink. No pencil,
            highlighter, or other color of ink is allowed. No drawing, decorating , doodling, or making
            comments, in the margins of the pages is permitted.

            The Grievance and Request to staff must be specific as to the Complaint, Dates, Places,
            Personnel Involved and How the Inmate was Affected.

     D      Classification Movement requests to transfer to another facility, are not grievable to DOC.

     D      If there has not been response to your Request to Staff in 30 days, but no later than 60 days, of
            submission, the inmate may file a grievance to the reviewing authority with a copy of the "Request
            to Staff' attached to the grievance form. (Ask the law library supervisor for a copy of the RTS.)
            The grievance form may only be filed about the lack of response to the "Request to Staff."

     D      Only ONE ISSUE OR INCIDENT is allowed per Grievance and Request to Staff.

     D      You are on Grievance Restriction, proper documentation was not included.

     D      It has been determined that the grievance is not of an Emergency or Sensitive nature. The grievance
            is being returned and you must comply with the standard grievance process.
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                                                                         51 of 71                  ,ovr
G'RIEVAWC~ ,RETURNED UNANSWERED
                                                          Received :




                                                          Date              7
DATE:     April17, 2019
TO:       Roppolo, Paul, #600968       :if!:  /~~
FROM:     James Yates, Warden ----.?--7"7£~    ~:;;..~
                                                 .:::::.....---~:::...._------------
Received: April 11, 2019
RE:       Return of Grievance# 2019-100 - 0194-G
YOUR GRIEVANCE IS BEING RETURNED UNANSWERED BECAUSE OF THE FOLLOIWNG:

D    You have not filed your grievance within the specified time frame . (CANNOT RESUBMIT)

     D   The "Request to Staff' must be submitted within seven (7) days of the incident.

     0The inmate/offender grievance must be submitted by the inmate/offender 15 days from the
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